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                          UNITED ST ATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF PENNSYLVANIA

     SELECTIVE INSURANCE COMPANY OF
     SOUTH CAROLINA

                   Plaintiff
            V.                                            Case No. 2:18-CV-01847-JS
                                                                                        .
                                                                                         '
     CITY WIDE REALTY, INC., EMELIA PERRY
     and MET AL CHESTNUT, INC.

                    Defendants

                       ORDER ON PLAINTIFF'S MOTION FOR ENTRY F
                      DEFAULT JUDGMENT FOR DECLARATORY REL F

            IT IS hereby ORDERED and DECREED that Plaintifrs Motion for Entry of Default

     Judgment for Declaratory Relief is hereby GRANTED. It is further hereby ORDERED, in

     accordance with the Federal Rule of Civil Procedure 55(b) that:

            (a)     The liability alleged against City Wide Realty, Inc. ("City Wide") in Emelia Perry

            v Metal Chestnut, Inc. and Czty Wide Realty, Inc., PCCP July Term 2017, No. 002320

            (the "Underlying Action") is not covered by and/or is excluded from coverage under

            Selective Insurance Company of South Carolina's ("Selective") Business Owners

            Insurance Policy issued to City Wide, Policy No. 2273757 (the "Policy'');

            (b)    Selective is not required to provide coverage, indemnification or a defense to City

            Wide for the claims and liability asserted in the Underlying Action;

            (c)    City Wide is not entitled to insurance coverage\ indemnification or defense costs
                                         1',                           \,

            from Selective under the P6"licy for the claims and liabil~al{eged against it in the

            Underlying Action.

        ENT'D JAN - 8 2019
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